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                     UNITED STATES DISTRICT COURT
                      WESTERN DISTRICT OF TEXAS
                           DEL RIO DIVISION

THE STATE OF TEXAS,                 §
                                    §
     Plaintiff,                     §
                                    §    CIVIL ACTION NO. 2:23-CV-00055-AM
v.                                  §
                                    §
U.S. DEPARTMENT OF HOMELAND         §
SECURITY, et al.,                   §
                                    §
     Defendants.


                   PLAINTIFF’S EMERGENCY MOTION FOR A
                    TEMPORARY RESTRAINING ORDER OR
                         STAY OF AGENCY ACTION
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                                                  INTRODUCTION

       The State of Texas filed this lawsuit because federal officials have claimed the authority to

destroy state property simply “to allow [illegal] aliens to enter & be processed.” ECF 3-1 at 22.

Beginning on September 20, 2023, the federal Defendants accelerated that practice, seizing and

destroying Texas’s concertina wire fence on almost a daily basis, id. at 24–27—just as the City of

Eagle Pass was experiencing an unprecedented influx of illegal migration, id. at 18–20. Rather than

resorting to self-help measures, Texas brought this suit in federal district court to enjoin ongoing

invasions of the State’s property rights and violations of the Administrative Procedure Act (APA).

       But Defendants, it seems, are not content to have this Court decide these issues. Instead,

just two days after Texas notified them of this lawsuit, federal agents escalated matters, trading

bolt cutters for an industrial-strength telehandler forklift to dismantle Texas’s border fence:




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          Federal agents used hydraulic-powered pallet forks to rip Texas’s fence—concertina wire,

fencing posts, clamps, and all—out of the ground, holding it suspended in the air in order to wave

more than 300 migrants illegally into Texas. See Cooney Decl. ¶¶5-15, Supp.Appx.002–004.

          This brazen escalation by Defendants is an affront not only to Texas, but also to this Court,

which already had pending before it a motion for a preliminary injunction. ECF 3-1. This Court

should immediately grant a temporary restraining order to enjoin Defendants from continuing to

damage, destroy, or otherwise meddle with Texas’s concertina wire fence until the Court can rule

on the State’s preliminary-injunction motion. Alternatively, this Court could simply grant a

preliminary injunction in light of Defendants’ willful misconduct. Cf. 360 Mortgage Grp., LLC v.

Homebridge Fin. Servs., Inc., No. A-14-CA-847, 2014 WL 12570176, at *4 (W.D. Tex. Oct. 10, 2014)

(Sparks, J.). Further, the Court could issue a stay of agency action pending judicial review under

the APA. 5 U.S.C. § 705. Defendants oppose the relief sought in this motion.

                                              ARGUMENT

          Texas seeks a temporary restraining order for the purpose “of preserving the status quo

and preventing [the] irreparable harm” that will occur if Defendants are allowed to continue

cutting, destroying, or otherwise damaging Plaintiff’s concertina wire fence. Granny Goose Foods,

Inc. v. Bhd. of Teamsters & Auto Truck Drivers Local No. 70 of Alameda Cnty., 415 U.S. 423, 439

(1974).

          To merit such relief, Texas, as the moving party, must make a showing similar to the one

required to obtain a preliminary injunction: “(1) a substantial likelihood of success on the merits;

(2) a substantial threat that failure to grant the injunction will result in irreparable injury; (3) that

the threatened injury outweighs any damage that the injunction may cause the opposing party; and



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(4) that the injunction will not disserve the public interest.” Leija v. Kickapoo Traditional Tribe of

Texas, No. DR-18-cv-043, 2018 WL 7255430, at *6 (W.D. Tex. Sept. 14, 2018) (Moses, J.).

       “None of [these] four prerequisites has a fixed quantitative value.” Texas v. Seatrain Int’l,

S.A., 518 F.2d 175, 180 (5th Cir. 1975). Instead, “a sliding scale is utilized, which takes into account

the intensity of each in a given calculus.” Id. (citation omitted). Ultimately, whether to grant a

request for a temporary restraining order “is left to the sound discretion” of the Court. Nianga v.

Wolfe, 435 F. Supp. 3d 739, 743 (N.D. Tex. 2020).

       This Court has routinely found that imminent interference with property interests presents

an appropriate occasion for entering a temporary restraining order. See, e.g., Pomeroy, Inc. v. Border

Opportunity Saver Sys., Inc., No. DR-10-010, 2010 WL 11652127, at *4 (W.D. Tex. Feb. 23, 2010)

(Moses, J.); Jones v. Wells Fargo Bank, N.A., No. A-18-cv-379, 2018 WL 2996898 (W.D. Tex. June

4, 2018) (Yeakel, J.); Baker v. HUD, No. SA:19-cv-1049, 2019 WL 7763992 (W.D. Tex. Sept. 30,

2019) (Ezra, J.). A TRO is especially appropriate where, as here, “notice of the action … hasten[s]

the Defendants’ threatened [interference with] property.” Pomeroy, 2010 WL 11652127, at *2.

       In addition, the APA empowers a “reviewing court” to “issue all necessary and

appropriate process to postpone the effective date of an agency action or to preserve status or rights

pending conclusion of the review proceedings.” 5 U.S.C. § 705. A stay of the agency action should

issue “to the extent necessary to prevent irreparable injury” and “[o]n such conditions as may be

required.” Id.; Wages & White Lion Invs., L.L.C. v. United States Food & Drug Admin., 16 F.4th

1130, 1143 (5th Cir. 2021); Texas v. U.S. EPA, 829 F.3d 405, 435 (5th Cir. 2016) (staying an EPA

action pending review).




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        When considering “whether to stay an agency action pending judicial review,” district

courts apply the same test used for temporary restraining orders and preliminary injunctions. Texas

v. United States, 95 F. Supp. 3d 965, 973 (N.D. Tex. 2015); see also IHG Healthcare, Inc. v. Sebelius,

4:09-cv-3233, 2010 WL 11680368, at *1 (S.D. Tex. Apr. 1, 2010); Safety Nat’l Cas. Corp. v. U.S.

Dep’t of Homeland Sec., 4:05-cv-2159, 2005 WL 8168878, at *2 (S.D. Tex. Dec. 9, 2005). Thus, for

the reasons explained in its preliminary-injunction motion, Texas has made the showing necessary

for a stay.

        Staying the policy or practice of Defendants differs from a temporary restraining order in

one important respect. While a standard temporary restraining order expires after 14 days, see Fed.

R. Civ. P. 65(b)(2), the APA empowers the Court to postpone the effective date as long as

necessary “to preserve status or rights pending conclusion of the review proceedings.” 5 U.S.C. §

705. As a result, a stay would allow the Court to maintain the status quo pending a preliminary

injunction hearing—or a final merits determination—regardless of the schedule the Court

chooses.

        A. There can no longer be any dispute that: the concertina wire fence is state property;

Defendants have exercised dominion over that property absent any kind of exigency; and they have

continued to do so even after being put on notice of the State’s interest in the property. ECF 3-1 at

17–18, 21–28, 31–32 n.55; Perez Decl ¶¶3–6, Appx.001–002; Banks Decl. ¶¶15–25, Appx.020–027.

This Court may never see a simpler case for common-law conversion or trespass to chattels. ECF

3-1 at 30–32. And it has granted a temporary restraining order for conversion before. See Pomeroy,

2010 WL 11652127, at *2-3. Defendants’ conduct yesterday likewise attests to violations of the

APA. Just like clockwork, agents of Defendants undertook the same destructive behavior they have



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perpetrated almost every day since September 20—evidence of an obvious policy, pattern, or

practice never subjected to public notice and comment. ECF 3-1 at 34–37. The fact that federal

officers and agencies tasked with securing the border and deterring illegal entries persist instead in

destroying state property designed to secure the border and deter illegal entries is clear evidence

of acts in excess of statutory authority or ultra vires conduct. Id. at 32–34, 39–42. And the

incoherence of destroying border barriers just weeks after DHS itself acknowledged “an acute and

immediate need to construct physical barriers” demonstrates that Defendants’ policy is arbitrary

and capricious. Id. at 37–39.

       B. Texas has demonstrated a substantial threat of irreparable harm. It has already shown

the extensive costs incurred because of Defendants’ ongoing interference with state property.

Garcia Decl. ¶¶5–10, 13–14, Appx.005–006, 010. Even more harm is “threatened if Plaintiff does

not regain the use of” its concertina wire fence. Pomeroy, 2010 WL 11652127, at *3. Defendants’

actions this week demonstrate—beyond any shadow of a doubt—that they will prevent the State

of Texas from maintaining operational control of its own property. Instead, they will persist in

damaging, destroying, and exercising dominion over state property on a continual basis, anytime

aliens “have crossed onto U.S. soil without authorization into custody for processing.” 1 This

intransigence demonstrates that nothing short of ordering immediate relief will protect Plaintiff’s

property interest and the Texas communities being harmed by the uninhibited flow of illegal

migration while this Court adjudicates Plaintiff’s motion for a preliminary injunction.




1 Uriel J. Garcia, Texas Sues to Stop Border Patrol Agents from Cutting State’s Razor Wire at the

Border, Tex. Trib. (Oct. 24, 2023), https://www.texastribune.org/2023/10/24/texas-attorney-
general-paxton-lawsuit-border-concertina-wire/ (quoting “a spokesperson for the department”).
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       Defendants’ repeated destruction of Texas’s concertina wire irreparably harms Texas

because it facilitates increased illegal entry into the State. 2 ECF 3-1 at 43. As a result, Texas will

incur uncompensated “expenditures in providing emergency medical services, social services and

public education for illegal aliens.” Texas v. United States, 50 F.4th 498, 518 (5th Cir. 2022); see

Watlz Decl., Appx.031–033 (incarceration); Bricker Decl., Appx.034–046 (healthcare); Gipson

Decl., Appx.047–058 (driver’s licenses); Meyer Decl., Appx.059–062 (education). These costs are

irreparable because of the sovereign immunity enjoyed by federal agencies. Wages & White Lion

Invs., L.L.C., 16 F.4th at 1142.

       C. The balance of interests plainly favors Texas and temporary relief will serve the public

interest. As Texas explained in its preliminary-injunction motion, ECF 3-1 at 31–32 & n.55,

“[t]here is no … legal basis for the Defendants to exercise control and dominion over the

property,” Pomeroy, 2010 WL 11652127, at *3. If Defendants believe they do have some lawful basis

to continuously interfere with another sovereign’s chattels, “[t]he proper course of action to

[remove that property] is through legal proceedings, not self-help action.” Id. A temporary

restraining order here will plainly serve the public interest. There is presently a crisis of human

trafficking, drug smuggling, and terrorist infiltration along the southern border. ECF 3-1 at 9–14,




2 Defendants have recently conceded that physical border barriers are effective in reducing

unlawful entry by aliens: “There is presently an acute and immediate need to construct physical
barriers and roads in the vicinity of the border of the United States in order to prevent unlawful
entries into the United States.” U.S. Dep’t of Homeland Security, Determination Pursuant to
Section 102 of the Illegal Immigration Reform and Immigrant Responsibility Act of 1996, As Amended,
88 Fed. Reg. 69,214, 69,215 (Oct. 5, 2023), available at https://www.federalregister.gov/
documents/2023/10/05/2023-22176/determination-pursuant-to-section-102-of-the-illegal-
immigration-reform-and-immigrant-responsibility.


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38–39. Just days ago, CBP officials warned in an “intelligence note” that operatives from Hamas

may be seeking to enter through the U.S.-Mexico border. 3

       Concertina wire fencing undoubtedly serves as an effective “deterrent” against the illegal

entries fomenting this litany of harms. ECF 3-1 at 15–17. And Defendants’ acts yesterday prove

they are committed to permitting a free flow of these harms into Texas and the United States.

                                         CONCLUSION

       Plaintiff the State of Texas respectfully requests the Court to enter an order temporarily

restraining Defendants from damaging, destroying, or otherwise interfering with Texas’s

concertina wire fence while it adjudicates the pending preliminary-injunction motion—or grant

that motion due to Defendants’ escalation of its misconduct. Alternatively, the Court should issue

a stay of Defendants’ policy doing the same, pending judicial review.




3 Quinn Owen & Luke Barr, Hamas Militants ‘May Potentially’ Try Crossing the Southern Border,

US Officials Warn, ABC News (Oct. 23, 2023), https://abcnews.go.com/Politics/hamas-
militants-potentially-crossing-southern-border-us-officials/story?id=104236095.
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Dated: October 27, 2023.                         Respectfully submitted.

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                                  CERTIFICATE OF CONFERENCE

       I certify that on October 27, 2023, I conferred via email with counsel for Defendants,
Christopher Eiswerth of the U.S. Department of Justice, Civil Division, Federal Programs Branch,
regarding the relief requested in this motion. Counsel for Defendants stated that they oppose the
motion.

                                               /s/Ryan D. Walters
                                               RYAN D. WALTERS



                                    CERTIFICATE OF SERVICE

        I certify that a true and accurate copy of the foregoing document was filed electronically
(via CM/ECF) on October 27, 2023, which automatically serves all counsel of record who are
registered to receive notices in this case. I also served a copy of this document via email to counsel
for Defendants, Jean Lin and Christopher Eiswerth, at Jean.Lin@usdoj.gov and
Christopher.A.Eiswerth@usdoj.gov.

                                               /s/Ryan D. Walters
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